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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

               Defendant


              GOVERNMENT’S MEMORANDUM IN OPPOSITION TO
        DEFENDANT GATES’S REQUEST TO MODIFY RELEASE CONDITIONS

        The United States of America, by and through Special Counsel Robert S. Mueller III,

submits this memorandum in opposition to defendant Gates’s motion to modify his conditions of

release. See ECF#77. The government opposes the defendant’s motion because he has failed to

secure a bond that would support his requested movements. The government has continued to

respond to the defendant’s requests to interview sureties, and we have reviewed his most recent

bail package proposal (and responded with our views). While we do not agree with each of the

defendant’s assertions about the package that he has proposed, we do agree that progress has been

made.

        At the same time, the government continues to believe that the defendant should post a

secured bond before being granted further modifications. And notwithstanding any progress made,

the defendant’s current release rests only on his personal recognizance and an unsecured

appearance bond, which this Court has previously found insufficient to assure his appearance given

the seriousness of the charges, the strength of the evidence, and the risk of flight posed. See
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ECF#50 (Nov. 16, 2017 Order) at 1-2.

                                             Respectfully submitted,

                                             ROBERT S. MUELLER III
                                             Special Counsel

Dated: December 7, 2017                By:   __/s/__Greg Andres__________________
                                             Andrew Weissmann
                                             Greg D. Andres (D.D.C. Bar No. 459221)
                                             Kyle R. Freeny
                                             U.S. Department of Justice
                                             Special Counsel’s Office
                                             950 Pennsylvania Avenue NW
                                             Washington, DC 20530
                                             Telephone: (202) 616-0800

                                             Attorneys for the United States of America




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